Case 1:25-cv-03181-JMF Document17_ Filed 04/24/25 Pagelof1

UNITES STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

CHECKMATE.COM, INC., f
Plaintiff, : Case No.: 1:25-cv-03181-JMF
-against- : AFFIRMATION OF SERVICE
ARJUN VASAN,
Defendant.
x

I, Roxana I. Ciulei, am over 18 years of age and not a party to this action.

On April 24, 2025, I caused to be served by FedEx delivery a true and correct copy of
April 24, 2025 Letter to Judge Jesse M. Furman in Response to Defendant’s Request for
Extension of Time in this action, upon the following:

Arjun Vasan

12615 193rd Street

Cerritos, CA 90703

(562) 900-6541

arjun.vasan@gmail.com

Plaintiff Pro Se

I affirm this 24th day of April, 2025, under the penalties of perjury under the laws of

New York, which may include a fine or imprisonment, that the foregoing is true, and I

understand that this document may be filed in an action or proceeding in a court of law.

canal. (rle,

f Roxana I. Ciulei

